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                        IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

CHRISTIAN BRAVO,                                 |
               Plaintiff,                        |          No.: 17-cv-2636
v.                                               |
                                                 |          Judge Amy J. St. Eve
OFFICER DENNIS LANNING,                          |          Magistrate Judge M. David Weisman
Chicago Police Officer (Star # 11945);           |
OFFICER P. M. DARLING,                           |
Chicago Police Officer (Star # 7134);            |
OFFICER CHARLES HEINEN,                          |
Chicago Police Officer (Star # 15961); and,      |
the CITY OF CHICAGO, a municipal corporation, |
                                     Defendants. |

                                         Amended Complaint

       Plaintiff, Christian Bravo, by his attorneys at Villalobos & Associates, and for his

Amended Complaint, states as follows.



                                         Nature of the Action

       1.         Plaintiff brings this action pursuant to 42 U.S.C. § 1983 and § 1988 based on the

Defendant-Officers’ violations of his constitutional rights.

       2.         Plaintiff brings claims against the City of Chicago for indemnification pursuant to

745 ILCS 10/9-102.




                                              The Parties

       3.         Plaintiff, Christian Bravo, is a permanent resident of the State of Illinois. At all

times relevant to this Complaint, Plaintiff lived at 5943 South Kedvale Avenue in Chicago,

Illinois 60629.


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       4.      At all times relevant to this Complaint, Defendant-Officers Lanning, Darling, and

Heinen were duly appointed and sworn Chicago police officers.

       5.      At all times relevant to this Complaint, the Defendant-Officers were acting in the

course and scope of their employment, and under color of state law, ordinance, and regulation.

       6.      The Defendant-Officers are sued in their individual capacities.

       7.      Defendant City of Chicago is a municipal corporation, duly incorporated under

the laws of the State of Illinois, and is the employer and principal of the Defendant-Officers.



                                     Jurisdiction and Venue

       8.      This Court has subject matter jurisdiction over Plaintiff’s federal claims pursuant

to 28 U.S.C. § 1483 and § 1331.

       9.      This Court has subject matter jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. § 1387.

       10.     This Court has personal jurisdiction over the Defendant-Officers because all of

the Defendant-Officers reside within the Northern District of Illinois. This Court has personal

jurisdiction over Defendant City of Chicago because the City of Chicago is a municipal

corporation located within the Northern District of Illinois.

       11.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 because all of the

events described in this complaint occurred in the Northern District of Illinois.



                                  Facts Common to All Counts

       12.     On the night of July 13th, 2015, Plaintiff was inside his home at 5943 South

Kedvale Avenue.


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        13.    On July 14th, 2015, at approximately 30 minutes after midnight, Defendant

Lanning forcibly entered Plaintiff’s home.

        14.    On July 14th, 2015, at approximately 30 minutes after midnight, Defendant

Darling forcibly entered Plaintiff’s home.

        15.    On July 14th, 2015, at approximately 30 minutes after midnight, Defendant

Heinen forcibly entered Plaintiff’s home.

        16.    The noise of the Defendant-Officers forcibly entering Plaintiff’s home alerted

Plaintiff to the presence of the Defendant-Officers in his home.

        17.    Once the Defendant-Officers were inside Plaintiff’s home, they approached

Plaintiff.

        18.    When Defendant Lanning was near Plaintiff, Lanning struck Plaintiff multiple

times in the head with the butt of Lanning’s gun.

        19.    The force of Defendant Lanning’s strikes to Plaintiff’s head caused Plaintiff to

fall to the ground.

        20.    When Plaintiff was on the ground, Defendant Darling kicked Plaintiff in the face

and head.

        21.    When Defendants Lanning and Darling were striking and kicking Plaintiff,

Officer Heinen stood by and watched without doing anything to prevent Plaintiff from being

battered.

        22.    Defendant-Officers arrested Plaintiff, or assisted in arresting Plaintiff, on July

14th, 2015 at approximately 43 minutes after midnight.

        23.    The Defendant-Officers’ use of force in arresting Plaintiff injured Plaintiff’s head.




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       24.      After Defendant-Officers arrested Plaintiff, Plaintiff was taken to Holy Cross

Hospital at 2701 West 68th Street in Chicago, Illinois 60629.

       25.      The Defendant-Officers’ conduct caused Plaintiff physical injuries to his head and

face, as well as great emotional anguish including but not limited to fear, anxiety, stress, and

depression.

       26.      At no time relevant to this complaint did Plaintiff resist the Defendant-Officers’

efforts to arrest him or place him into custody.

       27.      At all times relevant to this Complaint, the Defendant-Officers acted maliciously,

willfully, wantonly, and in reckless disregard for Plaintiff’s constitutional rights.



                                           Count I
             Claim under 42 U.S.C. § 1983 for Excessive Force in Making an Arrest

       28.      Plaintiff re-alleges paragraphs 1-27 as if fully set forth herein.

       29.      Defendants in this Count are Officers Lanning and Darling.

       30.      Plaintiff did not pose an immediate threat to the safety of the Defendant-Officers

or others when he was arrested.

       31.      Plaintiff never attempted to evade arrest by fleeing from the Defendant-Officers.

       32.      Plaintiff never resisted the Defendant-Officers’ efforts to arrest him.

       33.      Plaintiff never interfered or attempted to interfere with the Defendant-Officers’

execution of their duties as police officers.

       34.      Defendant Lanning’s action of repeatedly striking Plaintiff with his gun was

unreasonable in light of the facts and circumstances confronting him.

       35.       Defendant Darling’s action of kicking Plaintiff in the face and head was

unreasonable in light of the facts and circumstances confronting him.

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       36.     The amount of force Defendants Lanning and Darling used to seize and arrest

Plaintiff was excessive.

       37.     Defendants Lanning and Darling’s excessive use of force in seizing and arresting

Plaintiff violated Plaintiff’s Fourth Amendment rights.

       38.     Defendants Lanning and Darling’s excessive use of force in seizing and arresting

Plaintiff directly and proximately caused damages to Plaintiff, including but not limited to

physical injuries, fear, anxiety, stress, and depression.

       WHEREFORE, Plaintiff respectfully asks that this Honorable Court:

       (a) Enter judgment against the Defendant-Officers,
       (b) Award Plaintiff compensatory and punitive damages,
       (c) Award Plaintiff his attorneys’ fees and costs, and
       (d) Award Plaintiff any further relief that his Honorable Court deems just and equitable.


                                          Count II
                     Claim under 42 U.S.C. § 1983 for Failure to Intervene

       39.     Plaintiff re-alleges paragraphs 1-38 as if fully set forth herein.

       40.     Defendant in this Count is Officer Heinen.

       41.     Defendant Heinen knew or had reason to know that Defendants Lanning and

Darling were using excessive force to seize and arrest Plaintiff.

       42.     Defendant Heinen knew that Plaintiff was being unjustifiably arrested.

       43.     Defendant Heinen knew that Defendants Lanning and Darling were violating

Plaintiff’s constitutional rights in seizing and arresting him.

       44.     Defendant Heinen had a realistic opportunity to prevent Defendants Lanning and

Darling from using excessive force to seize and arrest Plaintiff.

       45.     Defendant Heinen had the opportunity to call for backup prior to the Defendant-

Officers completing their arrest of Plaintiff.

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          46.      Defendant Heinen had the opportunity to call for help prior to the Defendant-

Officers completing their arrest of Plaintiff.

          47.      Defendant Heinen had the opportunity to caution Defendants Lanning and Darling

from using excessive force.

          48.      No bystanders or other persons prevented Defendant Heinen from intervening to

stop Defendants Lanning and Darling from using excessive force.

          49.      Defendant Heinen had the opportunity to physically intervene to prevent

Defendant Lanning from striking Plaintiff on the head.

          50.      Defendant Heinen had the opportunity to physically intervene to prevent

Defendant Darling from kicking Plaintiff.

          51.      Defendant Heinen failed to intervene to prevent, or attempt to prevent,

Defendants Lanning and Darling from using excessive force in seizing and arresting Plaintiff.

          52.      Defendant Heinen’s failure to intervene violated Plaintiff’s Fourth Amendment

rights.

          53.      Defendant Heinen’s failure to intervene directly and proximately caused damages

to Plaintiff, including but not limited to physical injuries, fear, anxiety, stress, and depression.

          WHEREFORE, Plaintiff respectfully asks that this Honorable Court:

          (a) Enter judgment against the Defendant-Officers,
          (b) Award Plaintiff compensatory and punitive damages,
          (c) Award Plaintiff his attorneys’ fees and costs, and
          (d) Award Plaintiff any further relief that his Honorable Court deems just and equitable.


                                              Count III
                Claim under 42 U.S.C. § 1983 for Unlawful Entry into Plaintiff’s Home

          54.      Plaintiff re-alleges paragraphs 1-53 as if fully set forth herein.

          55.      Defendants in this Count are Officers Lanning, Darling, and Heinen.

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       56.     The Defendant-Officers did not have a warrant authorizing them to enter

Plaintiff’s home.

       57.     The Defendant-Officers were not confronted with exigent circumstances which

would justify their warrantless entry into Plaintiff’s home.

       58.     The Defendant-Officers did not have Plaintiff’s consent to enter his home.

       59.     The Defendant-Officers did not have the consent of any other person with actual

or apparent authority to give consent to enter Plaintiff’s home.

       60.     The Defendant-Officers were not in hot pursuit of a fleeing felon which would

justify their warrantless entry into Plaintiff’s home.

       61.     The Defendant-Officers’ entry into Plaintiff’s home violated Plaintiff’s Fourth

Amendment rights.

       62.     The Defendant-Officers’ unlawful entry into Plaintiff’s home directly and

proximately caused damages to Plaintiff, including but not limited to physical injuries, fear,

anxiety, stress, and depression.

       WHEREFORE, Plaintiff respectfully asks that this Honorable Court:

       (a) Enter judgment against the Defendant-Officers,
       (b) Award Plaintiff compensatory and punitive damages,
       (c) Award Plaintiff his attorneys’ fees and costs, and
       (d) Award Plaintiff any further relief that his Honorable Court deems just and equitable.



                                         Count IV
                Claim under 42 U.S.C. § 1983 for Unlawful Seizure of Plaintiff

       63.     Plaintiff re-alleges paragraphs 1-62 as if fully set forth herein.

       64.     Defendants in this Count are Officers Lanning, Darling, and Heinen.

       65.     Defendant-Officers seized Plaintiff before he suffered any injuries.


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        66.      Defendant-Officers did not have reasonable, articulable suspicion to conduct a

Terry-style investigative stop of Plaintiff.

        67.      The Defendant-Officers did not have probable cause to arrest Plaintiff.

        68.      The Defendant-Officers did not have an arrest warrant authorizing them to arrest

Plaintiff.

        69.      Plaintiff’s encounter with the Defendant-Officers was not consensual.

        70.      The Defendant-Officers’ seizure of Plaintiff violated Plaintiff’s Fourth

Amendment rights.

        71.      Defendants’ unlawful seizure of Plaintiff directly and proximately caused

damages to Plaintiff, including but not limited to physical injuries, fear, anxiety, stress, and

depression.

        WHEREFORE, Plaintiff respectfully asks that this Honorable Court:

        (a) Enter judgment against the Defendant-Officers,
        (b) Award Plaintiff compensatory and punitive damages,
        (c) Award Plaintiff his attorneys’ fees and costs, and
        (d) Award Plaintiff any further relief that his Honorable Court deems just and equitable.

                                           Count V
             Claim Against Defendant City of Chicago Pursuant to 745 ILCS 10/9-102

        72.      Plaintiff re-alleges paragraphs 1-71 as if fully set forth herein.

        73.      Defendant in this Count is the City of Chicago, a municipal corporation.

        74.      At all times relevant to this Complaint, Defendant City of Chicago was the

employer of the Defendant-Officers.

        75.      The acts of the Defendant-Officers described in the above claims were willful and

wanton.




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       76.     The acts of the Defendant-Officers described in the above claims were committed

in the scope of the Defendant-Officers’ employment.

       77.     Defendant City of Chicago is liable for any judgments for compensatory damages

in this case arising from the Defendant-Officers’ actions pursuant to 745 ILCS 10/9-102.

       WHEREFORE Plaintiff, pursuant to 745 ILCS 10/9-102, Plaintiff respectfully requests

that this Honorable Court:

       (a) Enter judgment against Defendant City of Chicago in the amount awarded to Plaintiff
against any and all Defendants as damages, attorney’s fees, costs and interest, and for any
settlement entered into between the Plaintiff and any Defendant, and
       (b) Award Plaintiff any further relief that his Honorable Court deems just and equitable.


                                         Jury Demand
Plaintiff demands a trial by jury.



Respectfully submitted,

/s/ Raul Villalobos
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